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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


UNITED STATES OF AMERICA,                       Cause No. CR 15-06-M-DLC

             Plaintiff,

       vs.                                                 ORDER

YUSUF DESHAWN REEVES,

             Defendant.


      The United States seeks leave to file under seal an exhibit consisting of

medical records. A motion is unnecessary and should not be filed. See D. Mont.

L.R. CR 49.3(a)(2)(C).


      Accordingly, IT IS ORDERED that the United States’ motion for leave to

file under seal (Doc. 184) is DENIED. The lodged sealed document (Doc. 185) is

STRICKEN from the record and will not be considered. If the United States wants

the Court to consider the document, it must follow the Local Rule.

      DATED this 18th day of September, 2020.
